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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

IN RE: Zantac (Ranitidine) Products Liability Litigation                      MDL No. 2924


    INTERESTED PARTY RESPONSE IN SUPPORT OF MOTION TO TRANSFER
                 ACTIONS PURSUANT TO 28 U.S.C. § 1407
          FOR COORDINATED OR CONSOLIDATED PROCEEDINGS

       Carmen Colon, plaintiff in Colon v. Sanofi-Aventis U.S. LLC, et al., No. 3:19-cv-20023,

pending in the in United States District Court for the District of New Jersey (“Colon”), respectfully

submits this Interested Party Response in Support of Motion to Transfer pursuant to Rule 6.2(e)

of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation. Plaintiff supports the

Request for Transfer of Actions to the District of New Jersey Pursuant to 28 U.S.C. § 1407 for

Coordinated or Consolidated Pretrial Proceedings in In Re: Zantac (Ranitidine) Products Liability

Litig., MDL No. 2924 (ECF Nos. 1- 2)1 (“Motion for Transfer”).

       Plaintiff Colon agrees that there are compelling reasons to coordinate or consolidate the

numerous actions alleging that Zantac, the brand name version of the generic ranitidine, and

generic ranitidine, exposes Zantac users to the known probable human carcinogen

Nnitrosodimethylamine (“NDMA”) and that the District of New Jersey is the most appropriate and

logical transferee forum for all the reasons set forth in the Motion to Transfer.

       Consolidation or coordination of the numerous Zantac/NDMA cases is the logical course

action given the large number of filed cases and the likelihood that there will be many additional

Zantac/NDMA cases filed in the near future. Indeed, as of the date of this response in support,

there are dozens of JPML associated cases listed on the docket. The factors governing the selection



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 ECF No. 2 is the “Amended Brief in Support of Plaintiffs’ Motion For Transfer of Actions to the
District of New Jersey Pursuant to 28 U.S.C. 28 § 1407 for Coordinated or Consolidated
Proceedings.”
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of the transferee court all point to the District of New Jersey as the most appropriate court to

conduct this MDL. Sanofi-Aventis U.S. LLC and Sanofi US Services, Inc., the current holder of

the rights to Zantac in the United States, are both headquartered in New Jersey. The vast majority

of the responsive documents and witnesses are likely to be located there. In addition, New Jersey

is well-situated geographically because the defendants in the JPML associated actions are located

in New Jersey, Pennsylvania, Connecticut, and New York.

       For these reasons, and as set forth in the Motion to Transfer, the Panel should transfer this

matter and all other related matters to the District of New Jersey.

Date: January 10, 2020                        Respectfully submitted,

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                                      PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that I electronically filed a copy of the foregoing

Interested Party Response In Support Of Motion To Transfer Actions Pursuant To 28 U.S.C. §

1407 For Coordinated Or Consolidated Proceedings with the Clerk for the United States Judicial

Panel on Multidistrict Litigation using the CM/ECF system and was electronically served on

registered users through the CM/ECF system, or otherwise served as indicated below, on January

10, 2020:

VIA U.S. MAIL:

Sanofi-Aventis U.S. LLC
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Bridgewater Township, NJ 08807

Sanofi US Services Inc.
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Bridgewater Township, NJ 08807

Chattem, Inc.
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Bridgewater Township, NJ 08807

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                                                       s/Shanon J. Carson
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